





















Opinion issued December 2, 2010



In The

Court of
Appeals

For The

First District
of Texas

————————————

NO. 01-10-00567-CR

———————————

PLEAMAN
JAMAL WILLIS, Appellant

V.

The State of
Texas, Appellee



&nbsp;



&nbsp;

On
Appeal from the 252nd District Court

Jefferson
County, Texas



Trial
Court Case No. 0907031

&nbsp;



MEMORANDUM OPINION

&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp; On November 4, 2010, appellant filed
a motion to dismiss the above referenced appeal.&nbsp; The motion complies with the Texas Rules of
Appellate Procedure.&nbsp; See Tex.
R. App. P. 42.2(a).

We have not yet issued
a decision.&nbsp; Accordingly, the motion is granted and the appeal is dismissed.

We deny any pending
motions as moot.

The Clerk is directed to issue mandate within 10 days of the
date of this opinion.&nbsp; Tex. R. App. P. 18.1.

PER CURIAM

Panel consists of Justices Jennings, Alcala, and Sharp.

Do not publish.&nbsp;
&nbsp;Tex. R. App. P. 47.2(b).





